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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                        :                CASE NO. 3:09:CR130(SRU)
                                                :
                v.                              :
                                                :
JAMES MAENZA                            :


               FINDING AND RECOMMENDATION ON A PLEA OF GUILTY

        Following referral of the captioned matter to me by Judge Stefan R. Underhill, with the

written consent of the defendant, counsel for the defendant and counsel for the United States, and

following a hearing held in open court and on the record, including the answers given by the

defendant under oath, on the record, and in the presence of counsel; and the remarks of the

Assistant United States Attorney, I

        (1) FIND that the defendant is competent to plead; that defendant knows his right to

trial; that he knows what the maximum possible sentence is; that the sentencing guidelines

apply; that there is a factual basis for the defendant’s plea; that he has knowingly and

intelligently waived his right to trial by jury and related rights; and that the plea of guilty to the

charge by this defendant has been knowingly and voluntarily made and not coerced, and

        (2) RECOMMEND to Judge Underhill that the defendant’s plea of guilty to the charge be

accepted.

        It is SO ORDERED.

        ENTERED at Bridgeport, Connecticut, this 9th day of October 2009.




                                                                   /s/
                                                         William I. Garfinkel
                                                    United States Magistrate Judge
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